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15                           UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17     Lucas R., et. al.,                      Case No.: 18-cv-05741-DMG-PLA
18                                             DEFENDANTS’ MEMORANDUM
                            Plaintiffs,        IN SUPPORT OF EX PARTE
19
                                               APPLICATION FOR 30-DAY
20                 v.                          EXTENSION OF THE
21                                             DEADLINE FOR COMPLYING
       Alex M. Azar,                           WITH THE PRELIMINARY
22     Secretary of U.S. Dep’t of Health and   INJUNCTION ORDER (ECF 391)
23     Human Services, et al.,
24
                            Defendants.
25                                             Honorable Dolly M. Gee
                                               United States District Judge
26
27
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1          Defendants respectfully request that the Court extend the time for complying
2    with the injunction’s requirements by thirty days. The Office of Refugee
3    Resettlement (ORR) has finalized its policies implementing the preliminary
4    injunction and those policies will become effective by the current deadline for
5    complying with the injunction, October 31, 2022. ORR requests the extension so
6    that these significant policy changes may be implemented alongside a
7    comprehensive training program scheduled to take place over the next thirty days.
8    Allowing ORR a thirty-day transition period will ensure a more successful
9    implementation of the injunction, and will not prejudice Plaintiffs. Therefore,
10   Defendants ask that the Court extend the compliance deadline from October 31,
11   2022, to November 30, 2022.
12   I. Factual and Procedural Background
13         A. The Preliminary Injunction Order
14         On March 11, 2022, this Court granted in part and denied in part cross motions
15   for summary judgment on three of the five claims at issue in this case: the step-up,
16   unfit-custodian, and legal-representation claims. ECF 376. As relevant here, the
17   Court determined that ORR must provide a Notice of Placement to a child’s counsel
18   within 48 hours after step-up, permit appeals and assistance of counsel for
19   challenged step-ups and release denials, and provide case files to denied sponsors
20   and counsel upon request. See id. The Court instructed the parties to propose terms
21   of a preliminary injunction to effectuate its ruling. Id. at 52. The parties did not agree
22   on terms and, instead, filed separate statements. See ECF 379, 380. In its statement,
23   Defendants indicated that ORR would likely need 120 days to complete its
24   implementation process based in part on the nature of the changes required and the
25   agency’s limited resources. See ECF 380 at 14.
26         On August 30, 2022, the Court issued the preliminary injunction order. ECF
27   391. The order requires ORR to provide additional notice and appeal procedures in
28   connection with decisions: (1) not to release a child to a proposed sponsor; and

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1    (2) stepping up or continuing to hold a child in a restrictive placement. Id. at 5-9.
2    Specifically, the Court ordered ORR to extend the notice and appeal procedures
3    ORR affords parents (Category 1 proposed sponsors) to other close relatives
4    (Category 2 proposed sponsors). Id. at 2-5. The Court also ordered automatic review
5    of Family Reunification Applications (FRAs) every 90-days, and that the ORR
6    Director (or a designee) review denials of FRAs submitted by Category 1 or
7    Category 2 proposed sponsors within 10 or 14 days, respectively. Id. at 5-8. Finally,
8    the Court required ORR to institute new procedures in connection with: (1) access
9    to counsel at no cost to the government to challenge ORR decisions concerning
10   release and step-up; (2) notice automatically provided to counsel; and (3) case files
11   provided to sponsors and counsel upon request. Id. at 8-9. The Court afforded ORR
12   a 60-day implementation period and ordered the preliminary injunction effective
13   October 31, 2022. Id. at 9.
14         B. Implementation Efforts
15         National policy changes, like the one at issue here, require a multi-step effort
16   that begins with the publication of new policies, coupled with trainings, question-
17   and-answer sessions, and the provision of written guidance. Exhibit A, Declaration
18   of Laura Kiesler, Acting Director of the Division of Unaccompanied Children
19   Operations, ORR, (Kiesler Decl.) at ¶ 10. To implement the policy changes called
20   for by the injunction, ORR initially focused its efforts on revising its
21   Unaccompanied Children Program Policy Guide (Policy Guide) and the Manual of
22   Procedures (MAP) to the reflect the terms of the preliminary injunction. Id. at ¶ 12.
23   This is a time-consuming process as it requires ORR to identify all impacted sections
24   of the Policy Guide and MAP, translate the preliminary injunction into new or
25   revised policies, and then clear those policies through multiple levels of agency
26   leadership. Id. at ¶ 11.
27         In addition, ORR has been engaged in marshaling the human resources
28   necessary to ensure the new procedures are appropriately scaled to meet anticipated

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1    demand from the increased number of unaccompanied children (UCs) and sponsors
2    who will be able to avail themselves of those procedures (e.g., staff secure step-ups,
3    Category 2 appeals). Id. at ¶ 13. This includes ensuring a sufficient number of
4    appropriately credentialed ORR personnel are available to participate in the appeals
5    process; ORR’s case file processing team is appropriately staffed to handle the
6    increased number of case files that will need to be collected, collated, and redacted;
7    and Federal Field Specialists (FFS) are aware of the new evidentiary and
8    documentation requirements that will bear on their routine step-up and release
9    decisions. Id. at ¶ 13.
10          These efforts have taken place while the parties have been engaged in
11   settlement negotiations on the two claims that were not addressed by the preliminary
12   injunction order. Exhibit B, Declaration of Sarah Wilson (Wilson Decl.) at ¶ 5. These
13   negotiations included a two-day session with a mediator, a follow up session, and
14   multiple preparatory sessions, all attended by key ORR decisionmakers during the
15   60-day implementation period. Id.
16          Although ORR has worked diligently on its implementation efforts since
17   receipt of the injunction order on August 30, 2022, it has not been able to train the
18   field on the updated guidance. Kiesler Decl. at ¶ 11-12. ORR is not in a position to
19   train from a court order as the affected individuals are not attorneys. Id. at ¶ 14. The
20   order must first be translated into policy documents before ORR can provide
21   training. Id. at ¶ 11.
22          The size and nature of ORR’s network makes training important for a coherent
23   rollout of major, nationwide policy changes. ORR’s nationwide network includes
24   approximately 175 grantees, who operate a total of 289 different facilities located in
25   28 states. Id. at ¶ 8. ORR grantees employ a total of approximately 28,000 personnel.
26   In turn, grantees are overseen by a cadre of approximately 100 FFS, who are the
27   ORR personnel responsible for making major decisions regarding the care and
28   custody of UCs, such as the decisions to step-up an unaccompanied child (UC) to a

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1    more secure setting or grant/deny release to a particular sponsor. Id. at ¶ 8. Unlike
2    other federal agencies involved in the immigration system, ORR does not operate
3    the facilities that house UCs or employ the personnel who care for UCs on a daily
4    basis. Id. at ¶ 9. Under this indirect operating structure, ORR does not have control
5    over its grantees such that it can ensure a particular operational change will occur
6    instantaneously across its nationwide network simply by issuing a new policy. Id.
7          ORR intends to use the next thirty days to provide training sessions to grantees
8    on the new and revised policies and procedures, with each training taking place
9    approximately one week apart. Id. at ¶ 16. The trainings will be recorded and made
10   available to grantees and their staff for future reference. Id. Between these trainings,
11   grantees and their staff will have the opportunity to submit questions to ORR
12   regarding the new policies and procedures. Id. ORR will then hold a question-and-
13   answer session with grantees to provide answers to their questions and focus on areas
14   of potential confusion or hurdles to implementation. Id. Finally, ORR plans to
15   develop and distribute a frequently-asked-questions document memorializing the
16   grantee questions and ORR’s responses, as well as any other written guidance that
17   is needed based on grantee feedback. Id. This process is consistent with typical ORR
18   practice and represents the training and preparation necessary to ensure grantees and
19   FFS are able to correctly implement the major policy changes required by the
20   preliminary injunction. Id. at ¶ 17.
21         C. Conference of the Parties
22         On October 21, 2022, the parties had a telephone conference to discuss several
23   implementation issues, including ORR’s request for thirty days to complete its
24   training process. Wilson Decl. at ¶ 2. During that conference, government counsel
25   explained that ORR is prepared to issue guidance implementing the preliminary
26   injunction order, but that ORR viewed the training as an important part of its rollout
27   process. Id. Based on this, ORR asked Plaintiffs’ counsel to consent to a 30-day
28   extension of the deadline, with the understanding that the policies would be issued

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1    and in effect during this training period. Id. Government counsel requested that
2    Plaintiffs provide their position by the end of the day Friday, but agreed to allow
3    Plaintiffs until Monday to consider the request. Id.
4             On Monday evening, Plaintiffs’ counsel provided their response. Id. at ¶ 4.
5    Counsel indicated that Plaintiffs would not agree to the thirty-day extension and
6    offered instead to temporarily modify several of the provisions that government
7    counsel flagged as the basis for Defendants’ motion to modify the injunction.1 See
8    id. & e-mail attachment. Because Plaintiffs’ proposal does not address ORR’s need
9    for the thirty-day extension for training, Defendants elected to seek relief from this
10   Court.
11   II.      Defendants’ Request for Extension of Time to Comply
12            Defendants respectfully request that the Court extend the time for complying
13   with the injunction’s requirements by thirty days. ORR has finalized its policies
14   implementing the injunction, and will issue them by the current deadline for
15   complying with the injunction. Kiesler Decl. at ¶ 12, 15. However, due to the large
16   number of grantees and facilities affected by this nationwide injunction, ORR
17   believes that the changes should be implemented alongside a training program. Id.
18   at ¶ 15-17. ORR plans to conduct training and question/answer sessions over the
19   next thirty days. Id. at ¶ 16. Affording ORR a thirty-day transition period will allow
20   ORR to focus on training and result in a more successful implementation of the
21   injunction. Therefore, Defendants ask that the Court amend the compliance deadline
22   to November 30, 2022.
23
24   1
       In its initial communications, government counsel indicated that if the parties
25   could not reach agreement on the extension, Defendants planned to file this motion
26   as an ex parte application and then file a motion to modify the injunction on
     October 28 (as a noticed motion). The reason for the October 28 date is so that the
27   modification motion may be submitted within the 30-day extension period. Ideally,
28   the modification motion will be resolved early in the implementation process and
     potentially save time, resources, and confusion.
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1            First, ORR has worked diligently to implement the injunction. Id. at ¶12. The
2    preliminary injunction made extensive changes to ORR’s release and step-up
3    processes, which are core ORR functions embodied in a number of long-standing
4    policies, in terms of the number and sequence of procedural steps, applicable
5    evidentiary standards, and documentation and notice requirements. Id. at ¶ 11.
6    Consequently, ORR had to identify all of the impacted policies, and then translate
7    the preliminary injunction into new or revised policies. Id. Those policies then had
8    to be cleared through several levels of agency leadership. ORR has, nonetheless,
9    accomplished this task in less than two months and is prepared to issue updated
10   policies on or about October 31, 2022. Id.
11           Second, training will meaningfully improve the success of the implementation
12   process. Id. at ¶ 15-18. The training and question/answer sessions will allow ORR
13   to identify areas of confusion and correct issues. Id. This will improve ORR’s
14   compliance efforts and the outcomes for UCs covered by these new provisions. It
15   will also prevent unnecessary litigation over issues that the parties can agree upon
16   and address through proper training. This will conserve the limited resources of ORR
17   (as well as Plaintiffs and the Court) and allow ORR to focus on their operational
18   mission.
19           Third, Plaintiffs will not be prejudiced by the delay. As noted, the policy
20   changes will be issued by October 31, 2022, and effective by that date. As a result,
21   this motion will not impact any substantive entitlement under the injunction.
22   Plaintiffs have not suggested that Defendants’ lack good cause for the delay or that
23   they would be prejudiced by that delay. In objecting to the extension, Plaintiffs’
24   counsel noted only that “the Court delayed the effective date of the injunction for 60
25   days and in so doing denied Defendants’ request for greater delay.” Wilson Decl. at
26   ¶ 4 & e-mail attachment. The Court’s initial deadline should not control over the
27   realities of the implementation process as they have developed over the last sixty
28   days.

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1          Finally, Plaintiffs’ offer to temporarily modify the injunction does not address
2    the issues raised by this motion. Although Defendants appreciate that Plaintiffs
3    appear sympathetic to the child welfare concerns raised by the wording of the
4    injunction order, the modification request was made in addition to the extension
5    request, not in the alternative. The primary basis for the extension request is to allow
6    for a more complete rollout of the policies prior to the compliance deadline.
7    Plaintiffs’ offer, however, supports Defendants’ view that there are modifications
8    that should be made to this injunction prior to the compliance deadline, and suggests
9    an additional reason to delay the compliance deadline.
10   IV. Conclusion
11          For these reasons, Defendants respectfully request that the Court grant
12   Defendants’ ex parte application and extend the deadline for compliance to
13   November 30, 2022.
14                                    Respectfully submitted,
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